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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
   ____________________________________
                                            )
   UNITED STATES OF AMERICA,                )
   ex rel. BARBARA BERNIER,                 )
                                            )
           Plaintiff,                       ) Case No. 6:16-cv-00970-RBD-TBS
                                            )
   v.                                       )
                                            )
   INFILAW CORPORATION, a Florida           )
   Corporation, and CHARLOTTE SCHOOL )
   OF LAW, LLC, a foreign limited liability )
   company,                                 )
                                            )
           Defendants.                      )
   ____________________________________)

      DEFENDANTS’ MOTION FOR LEAVE TO FILE A REPLY IN SUPPORT OF
            THEIR MOTION TO DISMISS AMENDED COMPLAINT

          Defendants InfiLaw Corporation (“InfiLaw”) and Charlotte School of Law, LLC

   (“CSL”) (collectively, “Defendants”) move for leave to file a reply in support of Defendants’

   Motion to Dismiss Plaintiff Barbara Bernier’s Amended Complaint (Dkt. No. 53) (“Motion”).

   In accordance with Local Rule 3.01(c)-(d), Defendants propose to file a reply limited to 10

   pages no later than 14 days after entry of an order granting the requested relief.

          The Court will benefit significantly from a reply brief for at least three reasons. First,

   unlike a typical motion to dismiss based solely on allegations in the complaint, the Motion here

   is based, in part, on the False Claims Act’s (“FCA”) public disclosure bar and therefore

   necessarily brings to the Court’s attention facts (in the form of those public disclosures) not

   present in the Amended Complaint (Dkt. No. 48) (“AC”). See Mot. at 13-29. Specifically,

   Defendants cited 27 publicly available sources comprising prior public disclosures that bar
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   Plaintiff’s claims. Id. Accordingly, Plaintiff’s Opposition (Dkt. No. 56) contains her first

   argument as to why these previous public disclosures allegedly do not prevent application of

   the public disclosure bar. Opp. at 17-25. Defendants have not had any opportunity to respond

   to these arguments. In addition to these first-time arguments on whether the prior media reports

   trigger the public disclosure bar, Plaintiff suggests that some of these news sources should be

   disregarded, which, Defendants should be permitted to address. Id. at 19-21. Plaintiff also

   argues that she is an “original source” because she “materially adds” to the public disclosures

   by allegedly “disclos[ing] the essential elements to a fraudulent scheme.” Id. at 25. The Court

   would benefit from having Defendants’ response to these new arguments.

          Second, the Opposition raises new issues not raised or addressed in the Motion.

   Specifically, Plaintiff inexplicably quotes an outdated version of the FCA (Opp. at 6), which

   requires a response; takes the novel position that under Universal Health Servs., Inc. v. U.S. ex

   rel. Escobar, 136 S. Ct. 1989 (2016), a defendant impliedly certifies compliance with all

   conditions of payment whenever it submits a request for payment (Opp. at 8); makes the novel

   argument that “federal courts in Title IV cases routinely recognize that post-PPA conduct is

   sufficient to draw the inference that an academic institution never intended to comply with the

   conditions in the initial PPA” (Opp. at 14-15); and raises arguments that appear to

   recharacterize the allegations contained in her AC (Opp. at 12, 14-16).

          Finally, the Opposition includes an impermissible request for relief. Notwithstanding

   that Plaintiff already amended the complaint once after reviewing Defendants’ original motion

   to dismiss, Plaintiff begins and ends her Opposition with an “alternative” request for leave to

   file a second amended complaint. Opp. at 2, 27. Even if such a request was appropriate,




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   Defendants should have the opportunity to address why Plaintiff’s alternative request is

   unjustified, as she has provided no basis demonstrating how an amendment would cure the

   complaint’s deficiencies. By including this request in her Opposition, Plaintiff is effectively

   preventing Defendants from responding to what should be a separate motion, because the usual

   rule against reply briefs would prevent any response.

          For these reasons, Defendants respectfully request leave to file a brief 10-page reply.

    Dated: January 2, 2018                           Respectfully submitted,

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                                                 Counsel for Defendants InfiLaw Corporation
                                                 and Charlotte School of Law, LLC




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                            CERTIFICATE OF CONFERENCE

          I HEREBY CERTIFY that on January 2, 2018, I conferred with counsel for Plaintiff

   regarding the foregoing motion requesting leave to file a reply, and the parties could not

   reach an agreement.




                                                       /s/ David E. Mills
                                                       David E. Mills, Esq.
                                                       Counsel for Defendants
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 2, 2018, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system which will send a notice of

   electronic filing to all counsel of record, including the following:

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                                                         /s/ David E. Mills
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